Case 2:05-cr-20185-.]PI\/| Document 24 Filed 09/02/05 Page 1 of 2 age|D 37

mrs 55 ._~,If_/. D.C-
IN THE UNITED STATES DISTRICT COURT "

FOR THE WESTERN DISTRICT OF TENNESSEE

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UNITED sTATES 01= AMERICA \NIDG \.L
Plainciff,

VS. CR. NO. OS-ZOlBS-Ml

CASEY SUTTON
Defendant.

v-_/_,_/~_,~._r~_.¢-._¢V-._/

 

ORDER ON CHANGE OF PLEA

 

This cause came on to he heard on September l, 2005, the United
States Attorney for this district, Greg Gilluly, appearing for the

Government and the defendant, Casey Sutton, appearing in person and with
counsel, L. Daniel Johnson, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Counts 1, 2 and 3 of
the Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SENTENCING in this CaSe is SET for WEDNESDAY, NOVEMBER 30, 2005,
at 9:00 a.m., before Judge Jon Phipps McCalla.

Defendant is remanded to the custody of the U. S. Marshal.

ENTERED this the §§ day of September, 2005.

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JO PHIPPS MCCALLA
TED STATES DISTRICT COURT

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20185 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

L. Daniel Johnson

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Honorable Jon McCalla
US DISTRICT COURT

